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                  Nos. 23-7073 (lead), 23-7074, 23-7075
          ________________________________________________

                UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
          ________________________________________________

                              In the matter of:
                           Jeffrey B. Clark, In re

                               *     *      *

                 Jeffrey B. Clark, A Member of the Bar of the
           District of Columbia Court of Appeals (Bar No. 455315),
                             Petitioner-Appellant
                                       v.
                      D.C. Office of Disciplinary Counsel,
                             Respondent-Appellee
          ________________________________________________
              DISCIPLINARY COUNSEL’S OPPOSITION
                       TO MOTION FOR STAY
          ________________________________________________

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                        INTRODUCTION AND SUMMARY

         This case involves three notices of removal stemming from an attorney dis-

cipline action against Jeffrey Clark before a hearing committee of the District of

Columbia Board on Professional Responsibility. The district court granted Disci-

plinary Counsel’s motions to remand, concluding that the action “is not a remova-

ble proceeding” and that it lacks subject-matter jurisdiction to consider it. D.Ct.

Docket No. 20 at 1-2, 32 & n.14 (Remand Opinion). Clark noted his appeal and,

more than a month later, sought a stay pending the resolution of the appeal in the

district court. D.Ct. Docket No. 25. Clark gave the district court two days to con-

sider the motion, id. at 26, and then filed a motion seeking the same relief in this

Court.

         Clark first claims that no stay is necessary. He argues that Supreme Court

precedent and 42 U.S.C. § 1446(d) forbid a lower tribunal from proceeding with a

case purportedly removed under the federal officer removal statute until all appeals

are complete. Mot. 4-8. In the alternative, Clark argues that the hearing committee

does not yet have jurisdiction to proceed because the district court clerk has not

complied with 28 U.S.C. § 1447(c) by mailing a copy of the remand order “to the

clerk of the State court.” Mot. 9-11. Assuming that the hearing committee may not

proceed without such a mailing, Clark argues that he meets the four-factor test for
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a stay pending appeal and that the Court should therefore enter a stay to prevent the

district court clerk from mailing a certified copy of the remand order. Id. at 11-20.

      For the reasons below, Clark’s motion fails on the merits: his argument that

a state court may never proceed while remand orders are on appeal is incorrect, and

he has not met his burden to show that he will suffer irreparable injury absent a

stay or that he is likely to succeed on appeal. But a more fundamental question un-

derlies Clark’s motion and all of his arguments: whether the hearing committee

was ever divested of jurisdiction to proceed in the first place. A notice of removal

prevents a state court from proceeding only because—and only to the extent that—

the removal statutes forbid the state court from doing so. But the statute that pre-

vents a state court from proceeding in a removed civil action (28 U.S.C. § 1446(d))

did not forbid the hearing committee from proceeding here because it is not a court

and this is not a civil action. Accordingly, a stay would have no effect on the hear-

ing committee’s authority to move forward. Because a stay would not afford Clark

any relief, the Court should deny his motion as moot. If the Court reaches the mer-

its, the motion should be denied.

                                    ARGUMENT

      At base, the disciplinary action against Clark is a square peg that does not fit

into the round hole provided by the removal statutes. Disciplinary proceedings rep-

resent the Court’s exercise of its responsibility to protect the public and our system



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of justice from unscrupulous lawyers, and they are tailored to that purpose from

beginning to end. Disciplinary charges may be brought only against those who

have agreed, by becoming members of the bar, to be bound by the Rules of Profes-

sional Conduct and to submit themselves to the disciplinary process, and the stakes

extend only to what attorneys receive as a result of their agreement: the privilege to

practice law. In D.C., that privilege is granted by the Court of Appeals and may be

taken away only by that same court. Disciplinary proceedings are the Court’s

mechanism for determining whether to continue to extend the privilege to practice

law to members of its bar. And the tools of discipline—censure, suspension, and

disbarment—are tailored to that purpose. They do not include remedies such as

civil liability or criminal sanctions which are traditionally available in civil actions

or criminal prosecutions.

      Attempting to fit disciplinary matters into the removal statutes is a doomed

prospect. The difficulty arises at the threshold because the statutes authorize re-

moval only of “civil actions” and “criminal prosecutions” commenced “in State

court.” 28 U.S.C. §§ 1441(a), 1442(a). But as the district court held, disciplinary

proceedings are not civil actions and they are not criminal prosecutions; nor are

they initiated in state court. See Remand Opinion 13-19. That threshold mismatch

confounds any attempt to apply the statutes. For example, the statutes contain dif-

ferent procedural requirements for civil actions than for criminal prosecutions,



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leaving no sensible way to determine which requirements would apply to an action

that is neither. Compare 28 U.S.C. § 1446 with id. § 1455. They also continually

refer to the “State court” from which the case was removed, creating ambiguity

when the body below is a non-court tribunal such as the Board or the hearing com-

mittee. E.g., 28 U.S.C. §§ 1446(d), 1447(c), 1455(b).

      The Court should not attempt to apply the removal statutes when they cannot

sensibly be applied. It should instead recognize that the statutes’ inapplicability

means that Clark’s notices of removal provided the district court with no more than

its inherent jurisdiction to determine its own jurisdiction. See, e.g., United States v.

United Mine Workers of Am., 330 U.S. 258, 291 (1947). They did not divest the

hearing committee of jurisdiction to proceed, and the district court’s remand deci-

sion was not necessary to return jurisdiction to the hearing committee. Accord-

ingly, a stay would not affect the hearing committee’s ability to proceed and the

Court should deny Clark’s motion as moot.

      If the Court considers the motion as if it were not moot, it should be denied

because Clark fails to show that a stay is warranted.

I.    There is nothing to stay here.

      The right to remove a case from state court to federal court is “purely statu-

tory.” 14C Wright & Miller, Fed. Prac. & Proc. Juris. § 3721 (Rev. 4th ed.). The

scope of removal “and the terms of its availability . . . are entirely dependent on



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acts of Congress.” Id. It follows that the consequences of removal also depend on

acts of Congress. See id. Specifically, a state court—or other tribunal—is prohib-

ited from proceeding with a matter only to the extent that the removal statutes say

it may not proceed. See 28 U.S.C. §§ 1446(d), 1455(b) (describing state courts’ au-

thority to proceed in, respectively, removed civil actions and criminal prosecu-

tions). And when the statutes forbid a tribunal from proceeding, they also control

when the tribunal may proceed with the matter after remand. See 28 U.S.C.

§ 1447(c).

      For most civil actions and criminal prosecutions removed from state court,

applying these principles is not complex. To remove a civil action commenced in

state court, the defendant must comply with the procedure for removal of civil ac-

tions in 42 U.S.C. § 1446. The defendant must file a timely notice stating the

grounds for removal in district court and provide a copy of the notice to the af-

fected parties and courts. Id. § 1446(a), (d). After that, “the State court shall pro-

ceed no further unless and until the case is remanded.” Id. § 1446(d). Notably, the

state court’s ability to proceed does not depend on whether the removal was

proper. The district court must remand the case to return jurisdiction to the state

court. If the district court does so, the court’s clerk must mail a copy of the remand

order to the clerk of the state court, and “[t]he State court may thereupon proceed.”

Id. § 1447(c). After such a mailing, the federal courts no longer have jurisdiction to



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stay the remand. E.g., Arnold v. Garlock, Inc., 278 F.3d 426, 438 (5th Cir. 2001)

(“Once the remand order is certified and mailed, however, the matter remanded is

removed from federal jurisdiction.”).

      The procedure for removal of criminal prosecutions is governed by a sepa-

rate statute, 42 U.S.C. § 1455. That procedure also involves filing a notice of re-

moval in district court, but both the procedures and consequences of removal differ

from civil actions. For example, in civil actions the defendant must generally file

the notice of removal within 30 days after receiving the initial pleading or a plead-

ing from which removability may be ascertained. Id. § 1446(b)(1), (b)(3). But in

criminal prosecutions, the notice is due within 30 days after the arraignment or

“any time before trial,” and the deadline may be extended for good cause. Id.

§ 1455(b). The state court’s ability to proceed after removal also differs from civil

actions—indeed, it is almost directly the opposite: “[t]he filing of a notice of re-

moval of a criminal prosecution shall not prevent the State court in which such

prosecution is pending from proceeding further, except that a judgment of convic-

tion shall not be entered unless the prosecution is first remanded.” Id. § 1455(b)(3).

Unlike in civil actions, the state court is only forbidden from proceeding if, after a

hearing, the district court determines “that removal shall be permitted.” Id.

§ 1455(b)(5). Thus, unlike civil actions, the state court need not wait for a remand




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order or the mailing of a remand order under Section 1447(c) to proceed with the

case, except perhaps to enter a judgment of conviction. Id. § 1455(b)(2).

      In its remand opinion, the district court correctly held that Clark’s discipli-

nary proceeding is not a civil action or a criminal prosecution commenced in state

court and rejected Clark’s claim that the statutes permit removal of a so-called “hy-

brid” action. Remand Opinion 13-19. Under the plain language of the removal stat-

utes, a proceeding that is neither a civil action nor a criminal prosecution is not re-

movable. See 42 U.S.C. §§ 1441(a), 1442(a). As a result, the statutes that control

whether a state court may proceed after removal—including Section 1446(d)’s re-

quirement that the state court “proceed no further” in removed civil actions—do

not apply.

      Indeed, because the statutes contain different procedures and consequences

for civil actions than they do for criminal prosecutions, attempting to apply them is

impossible without first determining that the proceeding is one or the other. For his

part, Clark has argued for whichever procedure suits him best, or failing that, no

procedure at all. He argued that his initial notice of removal was not untimely un-

der the period for civil actions in Section 1446(b) because it was a “hybrid”




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action.1 See D.Ct. Docket No. 1 at 7-11. He now argues that Section 1446(d)—

which applies only to civil actions—does apply because he hopes to keep the hear-

ing committee from proceeding. See Mot. 12. The Court should not play along. If

this were a civil action removed from state court, Section 1446(d) would have pre-

vented the state court from proceeding. If it were a criminal prosecution removed

from state court, Section 1455(b) would have allowed the state court to proceed.

But this is not a civil proceeding or a criminal prosecution, and it was not removed

from state court. Accordingly, Section 1446(d) did not divest the hearing commit-

tee of jurisdiction. Because no statute prevented it from proceeding, the hearing

committee could have proceeded while the district court considered the remand

motions and may still continue now.

      Further, Section 1447(c) did not require the district court clerk to mail a

copy of its remand order “to the clerk of the State court” before the hearing com-

mittee could proceed. Indeed, to whom would the clerk address such a mailing?

The Board on Professional Responsibility is not a court, nor is the hearing commit-

tee, and neither has a clerk’s office. The clerk cannot be expected to figure out

what entity counts as “the clerk of the State court” when the case did not come




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   Section 1446(b) requires a notice of removal in civil actions to be filed within
30 days of the initial pleading, but Clark filed his notice nearly three months after
he was served with Specification of Charges. See D.Ct. Docket No. 1 at 6-7.


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from a state court and there is no clerk’s office. It is thus no surprise that the dis-

trict court clerk did not mail a certified copy of the remand order to anyone in the

month that passed before Clark sought a stay. There was nobody to send it to. And

because the hearing committee never lost jurisdiction, a stay to prevent the clerk

from mailing a copy of the remand order now would have no effect on the hearing

committee’s ability to proceed. Because a stay would not afford Clark any relief,

his motion is moot and should be denied for that reason.

II.   Clark is incorrect that all appeals of a remand order must be
      exhausted before a state court may proceed.

      Because Clark’s notice of removal never divested the hearing committee of

jurisdiction, the Court need not reach Clark’s sweeping argument that state courts

can never proceed while a remand order is on appeal. Mot. 4-8. That argument is

also refuted by the plain language of the removal statute and has no support in

precedent.

      Clark bases the argument on a stray line from the Supreme Court’s decision

in BP v. Mayor & City of Baltimore, a case in which the Court clarified the scope

of review of remand orders where removal is premised federal officer removal in

addition to other grounds. 141 S.Ct. 1532, 1536 (2021). The Court held that an ap-

pellate court may review the district court’s reasons for rejecting all of the pur-

ported bases for removal and is not limited to reviewing solely the decision on fed-

eral officer removal. Id. at 1543.


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      The case did not discuss the technical matter of when jurisdiction returns to

state court following a district court’s remand order, much less hold that a state

court may never proceed until all appeals are exhausted. The sentence that Clark

leans on comes not from the Court’s analysis of the question presented, but instead

from a background discussion of the appealability of remand orders. See id. at

1536-1537. The Court first explained that “federal appellate courts have generally

lacked the power to review a district court order remanding a case to state court.”

Id. at 1536. The Court then observed that the statute has accrued exceptions over

time; for example, “a federal court of appeals usually can intervene to test the

soundness of the district court’s remand order” in civil rights cases removed pursu-

ant to 28 U.S.C. § 1443. Id. The Court then noted a second exception, “for suits

against federal officers or agencies removed pursuant to 28 U.S.C. § 1442.” Id. In

that context, the Court stated: “Here too, Congress has deemed it appropriate to al-

low appellate review before a district court may remand a case to state court.” Id.

at 1536.

      Clark claims—using boldface, italics, and underlining—that this sentence

means that jurisdiction cannot revert to state court until all appeals from a remand

order are resolved. Mot. 6. But read in context, it is clear that the Court was simply

explaining the exceptions to the general rule that remand orders are not appealable.

It was not discussing when jurisdiction reverts to state court following a remand,



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much less pronouncing that state courts may never proceed while an appeal is

pending.

       Clark’s theory is refuted by the removal statutes themselves. As discussed,

state courts may always proceed in removed criminal prosecutions under Section

1455(b); nothing prevents them from continuing when a remand order is appealed.

Likewise in removed civil actions, Section 1446(d) forbids the state court from

proceeding only “unless or until the case is remanded.” Section 1447(c) then di-

rectly authorizes the State court to proceed upon the district court’s mailing of a

certified copy of the remand order. Again, nothing in statute suggests remand or-

ders are exempt from the ordinary rule that, absent a stay, district court orders may

be enforced during an appeal.

       Clark does not and cannot point to any case in any court that has adopted his

outlandish theory. To the contrary, defendants regularly seek to stay appealable or-

ders remanding cases to state court, and the courts regularly evaluate those motions

under the traditional factors. See, e.g., District of Columbia v. Exxon Mobil Corp.,

No. 22-7163, 2023 WL 1480039, at *1 (D.C. Cir. Jan. 30, 2023) (denying motion

to stay remand pending appeal pursuant to federal officer removal).

       In sum, Clark’s theory is utterly without support. If the Court considers it at

all, it should be rejected.




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III.   Clark has not shown that a stay is justified.

       Before reaching the merits of Clarks’ motion for a stay, the Court must first

conclude that a stay would provide him with some relief. To do that, the Court

must engage in multiple conjectures. It must suppose (1) that the removal statutes

apply as if the disciplinary proceeding were a civil action or criminal prosecution

commenced in state court; (2) that the procedures for civil actions under Section

1446(d) apply and those for criminal prosecutions under Section 1455(b) do not;

(3) that the hearing committee counts as a state court in a removed civil action and

was thus forbidden from proceeding before remand; (4) that the Court’s clerk must

mail a copy of its remand order to someone under Section 1447(c) before the hear-

ing committee may resume; and (5) that a stay would forestall the clerk from such

a mailing. If the Court engages in all of those suppositions, it should deny Clark’s

motion because he has not met his heavy burden to show that a stay is justified.

       A stay pending appeal is an “intrusion into the ordinary processes of admin-

istration and judicial review.” Nken v. Holder, 556 U.S. 418, 427 (2009) (cleaned

up). It “is not a matter of right, even if irreparable injury might otherwise result to

the appellant.” Id. (cleaned up). The motion is evaluated under the traditional four-

factor test for a stay pending appeal: “(1) whether the stay applicant has made a

strong showing that he is likely to succeed on the merits; (2) whether the applicant

will be irreparably injured absent a stay; (3) whether issuance of the stay will



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substantially injure the other parties interested in the proceeding; and (4) where the

public interest lies.” Id. at 434. “The first two factors of the traditional standard are

the most critical.” Id. It is not enough to show a mere possibility of success or

some possibility of irreparable injury. Id.

      Clark’s motion fails on the merits because he has not shown he is likely to

succeed on appeal or that he will suffer any irreparable injury from the denial of a

stay. The public interest also favors denying the stay.

             A. Clark cannot show irreparable harm.

      A showing of irreparable harm is crucial to obtaining a stay pending appeal,

and the failure to show irreparable harm alone is sufficient to deny such a stay.

This Court has thus declined to stay a remand order where the appellants “have not

met this court’s ‘high standard’ for demonstrating irreparable injury.” Exxon Mobil

Corp., 2023 WL 1480039. When the lack of irreparable harm alone “disposes of

[the] motion[],” the Court may “address only whether the petitioners have demon-

strated that in the absence of a stay, they will suffer irreparable harm.” Wisconsin

Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985).

      This Court “has set a high standard for irreparable injury.” Chaplaincy of

Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). A possibil-

ity of injury is not enough; the injury “must be both certain and great; it must be

actual and not theoretical.” Id. (citation omitted). The injury must also “be beyond



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remediation.” Id. “Mere injuries, however substantial, in terms of money, time and

energy necessarily expended in the absence of a stay are not enough.” Id. (cleaned

up).

       Clark’s motion should be denied because he fails to show he would suffer

any irreparable harm absent a stay. The only harm he claims is that denial of a pur-

ported “right to have his federal defenses adjudicated in an Article III forum” and

that he “will be put through local litigation that will irreparably harm his reputa-

tion.” Mot. 17, 18-19. Neither claim is sufficient to show irreparable injury.

       First, Clark’s claim that he is entitled to have his disciplinary case heard in

federal court is the subject of his appeal on the merits. He cannot shoehorn that

merits question to show he will suffer irreparable harm. See Exxon Mobil, 2023

WL 1480039, at *1 (rejecting “claimed right to proceed in a federal court” as irrep-

arable harm). Indeed, to qualify as irreparable harm, the injury “must be both cer-

tain and great.” Chaplaincy of Full Gospel Churches, 454 F.3d at 297 (emphasis

added). Clark could thus demonstrate irreparable injury only by showing he is cer-

tain to establish his claimed right exists by prevailing on the merits of his appeal.

That showing would go well beyond the ordinary requirement to show a likelihood

of success, which, as we explain below, he cannot do.

       Second, even if it existed, Clark has not shown his claimed right to a federal

forum is likely to be denied absent a stay because the disciplinary proceeding is



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unlikely to conclude before the resolution of the appeal. The disciplinary proceed-

ing has barely begun. Before discipline can be imposed: (1) an evidentiary hearing

must be scheduled; (2) the hearing must be held; (3) post-hearing briefing must be

completed; (4) the hearing committee must write a report and recommendation; (5)

the case must be briefed and argued before the Board on Professional Responsibil-

ity; (6) the Board must write its own report; and (7) the case must be briefed and

argued a second time before the D.C. Court of Appeals. This appeal will likely

conclude long before that. In the unlikely event this Court finds the disciplinary

proceeding was removable after all, the case would then proceed in the district

court and Clark’s claimed right would be vindicated. To the extent he incurs ex-

penses in the meantime, “[m]ere litigation expense, even substantial and unrecoup-

able cost, does not constitute irreparable injury.” FTC v. Standard Oil Co., 449

U.S. 232, 244 (1980).

      Finally, the reputational harm Clark claims from news stories covering his

disciplinary proceedings (Mot. 18-19) cannot qualify as irreparable harm because

the same harm would occur if his case were heard in federal court. Clark offers no

reason why his case would receive less attention if heard in federal court than be-

fore a hearing committee. Indeed, he does not explain how a public airing of the

his conduct is a cognizable injury at all. In sum, Clark has not shown any




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irreparable injury sufficient to warrant granting a stay pending appeal, and his mo-

tion fails for that reason alone.

             B. Clark has not established a likelihood of success on the merits.

      Clark also fails to show he is likely to succeed on the merits of his appeal.

      The district court’s remand opinion carefully explains why it lacks jurisdic-

tion to adjudicate attorney discipline matters. By their plain text, the removal stat-

utes apply to “civil actions” and “criminal prosecution[s].” 28 U.S.C. §§ 1441(a)

1442(a). Those statues do not reach disciplinary proceedings in furtherance of a

court’s authority to regulate the practice of law because such proceedings are nei-

ther civil actions nor criminal prosecutions. Remand Opinion 13-19. As even Clark

agrees, an attorney-discipline proceeding is not purely a civil action. Id. at 14. It

“bears none of the essential hallmarks of a civil case,” and is not “of a character

traditionally cognizable by courts of common law or equity.” Id. (cleaned up). Ac-

cordingly, numerous federal courts have found that disciplinary matters are not re-

movable as “civil actions.” Id. at 14-15 (collecting cases). Nor is a disciplinary

matter a “criminal prosecution” amenable to removal under 28 U.S.C. § 1442. Id.

at 16-19. Disciplinary matters do not result in criminal liability, and they serve a

different purpose than criminal prosecutions. As the D.C. Court of Appeals has re-

peatedly held, disciplinary sanctions are not intended “to punish the attorney, but

to protect the public and the courts, safeguard the integrity of the profession, and



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deter respondent and other attorneys from engaging in similar misconduct.” Id. at

18-19 (quoting In re Cater, 887 A.2d 1, 17 (D.C. 2005)).

      The district court also showed that Congress intentionally treated D.C. attor-

ney-discipline matters differently than removable civil actions and criminal prose-

cutions. First, in the same statute that made civil actions and criminal prosecutions

in D.C. Superior Court removable, Congress placed attorney discipline under the

D.C. Court of Appeals with no mention of removability. Remand Opinion 2-4.

Congress then expressly subjected government attorneys to the ethical rules and

disciplinary authority of the jurisdiction where they are licensed by passing the

McDade Amendment (and its predecessors). Id. at 6-8, 20-32; see 28 U.S.C.

§ 530B.

      Clark fails to show he is likely to reach a different result on appeal. He relies

most heavily on a provision of the federal officer removal statute that defines “civil

action” and “criminal prosecution” to “include any proceeding (whether or not an-

cillary to another proceeding) to the extent that in such a proceeding a judicial or-

der, including a subpoena for testimony or documents, is sought or issued.” 42

U.S.C. § 1442(d)(1); see Mot. 13-17. The district court previously rejected Clark’s

argument that this language made a subpoena in the disciplinary action removable

on its own. Remand Opinion 34. Clark now argues the disciplinary proceeding




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itself is removable because Disciplinary Counsel will ultimately seek an order of

discipline from the D.C. Court of Appeals. Id. at 13-14. That is incorrect.

      The plain language of the statute refutes Clark’s argument. Section

1442(d)(1) does not make a proceeding removable if a judicial order may eventu-

ally be sought—in a later stage of the proceeding, before a different tribunal. It

makes a proceeding removable “to the extent that” a judicial order “is sought” in

the proceeding. 42 U.S.C. § 1442(d)(1) (emphasis added). The next sentence—

which Clark never mentions—clarifies that in such cases “only that proceeding”—

the one seeking a judicial order—“may be removed to the district court.” Id. (em-

phasis added). In other words, even if Clark were correct that his disciplinary ac-

tion could fall within Section 1442(d)(1), only the subpoena-enforcement aspect

that proceeding would be removable, not the underlying disciplinary proceeding it-

self. See also 28 U.S.C. § 1446(g) (specifying time limit for removal of subpoena

enforcement matters). And even then, the subpoena-enforcement matter would

only be removable if it were in “state Court,” which, under the definition of Sec-

tion § 1442(d)(6), does not include the D.C. Court of Appeals. Moreover, even if

Clark could surmount all of the foregoing and show a likelihood that the subpoena-

enforcement action was removable, it would not justify entering a stay to would

prevent the underlying disciplinary matter itself from proceeding.




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      The remainder of Clark’s argument likewise fails to show that he is likely to

succeed on the merits of his appeal. He argues that disciplinary proceedings are not

among the nonremovable actions listed in 28 U.S.C. § 1445, Mot. 13-14, but each

item listed there is a “civil action” that might otherwise be removable. Because dis-

ciplinary proceedings are not civil actions (or criminal prosecutions), Congress had

no reason to specify that they are not removable—they are already excluded by the

text of Sections 1441 and 1442.

      Clark next claims that the disciplinary action is removable as a “hybrid pro-

ceeding” under a functional interpretation of the statute—and claims that courts

have found “other types of hybrid proceedings” to be removable. Mot. 19-22. But

Clark does not confront the district court’s explanation that the functional approach

is contrary to the text of the removal statutes and Congress’s intent as expressed in

the statutes creating the D.C. Courts and in 28 U.S.C. § 530B, which makes attor-

neys for the federal government subject to the disciplinary authority of their state

bar. Remand Opinion 20-32.

      Clark cites contempt and garnishment cases to support this argument, but

none of them hold that there is such a thing as a “hybrid proceeding,” much less

that “hybrid proceedings” are removable.

      The contempt cases Clark cites are not comparable because they all arose

from subpoenas against federal officers and have thus been superseded by Section



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1442(d)(1), which settles whether such proceedings are removable. Regardless,

only two of the decisions discussed whether a contempt proceeding should be clas-

sified as a “civil action” or a “criminal prosecution,” and neither concluded there is

such a thing as a “hybrid” action. Instead, the courts in both cases concluded that

the classification is not important because the contempt actions sought to compel a

federal officer to act in his official duty or punish him for failing to do so. See Wis-

consin v. Schaffer, 565 F.2d 961, 962 (7th Cir. 1977); North Carolina v. Carr, 386

F.2d 129, 131 (4th Cir. 1967). That reasoning does not apply here because Clark is

no longer a federal official and the disciplinary action does not seek to compel offi-

cial acts.

       Clark’s wage-garnishment cases likewise fail to establish the existence or re-

movability of so-called “hybrid” actions. To the contrary, they agree that a garnish-

ment is removable if it is a “civil action” and nonremovable if not. Compare Na-

tionwide Investors v. Miller, 793 F.2d 1044, 1045 (9th Cir. 1986) (“a state court

garnishment proceeding . . . [is] a ‘civil action’ within § 1442(a)(1)”) with Murray

v. Murray, 621 F.2d 103, 106 (5th Cir. 1980) (“the summons in garnishment is not

a civil action commenced in state court” (cleaned up)). The courts’ disagreement

about whether garnishments are civil actions says nothing about whether Clark’s

disciplinary proceeding—concededly not a civil action—is removable.




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       Clark thus fails to show that he is likely to succeed on the merits of his ap-

peal. Having failed to establish either of the two critical elements for a stay, Clark

cannot meet his heavy burden to show that a stay pending appeal is justified.

              C. The public interest favors denying the stay.

       The public interest favors a prompt resolution of this disciplinary matter.

Delays in disciplinary proceedings fail to protect the public and reinforce the im-

pression that the disciplinary system is too friendly to attorneys who violate their

professional obligations. Those concerns are heightened here because two years

have already elapsed since Clark’s highly public misconduct. Clark’s removals

have delayed this matter by nine months, and a stay would serve only to prolong

the delay. Indeed, Clark has repeatedly made clear that he will ensure the delay is

as lengthy as possible, promising to seek both rehearing after losing in this Court

and certiorari after that.

       Finally, Clark’s misconduct was of a most grievous nature. He attempted to

undermine the basic premise of a democracy: the winner of a majority of the votes

is elected to office. He did so by attempting to coerce the Acting Attorney General

of the United States to intervene in a presidential election based upon a baseless

and dishonest claim of election fraud. There is little dispute as to what Clark did.

His conduct is documented in the public record and he has not denied it. There is

an overwhelming public interest in promptly resolving these disciplinary charges.



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                                 CONCLUSION

      The Court should denying the motion for a stay as moot. In the alternative,

the Court should deny the motion on its merits.

                                      Respectfully submitted,
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                      CERTIFICATE OF COMPLIANCE

      1.    I certify that the foregoing complies with the type-volume limitations

of Federal Rule of Appellate Procedure 27(d)(2) because it contains 5,196 words,

excepting the items excluded by Federal Rule of Appellate Procedure 32(f).

      2.    This document complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type-style requirements of Federal

Rule of Appellate Procedure 32(a)(6) because it has been prepared in a proportion-

ally spaced typeface using Microsoft Word.

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                                    ADDENDUM

                     Disciplinary Counsel’s Circuit Rule 28
              Certificate as to Parties, Rulings, and Related Cases

      Pursuant to Circuit Rule 27(a)(4), Disciplinary Counsel states as follows:

 A.   Parties and Amici

      The following parties appeared before the district court and are parties in

this Court:

      Petitioner-appellant Jeffrey B. Clark

      Respondent-appellee District of Columbia Office of Disciplinary Counsel

 B.   Rulings Under Review

      The rulings at issue in this Court are:

      Hon. Rudolph Contreras, Memorandum Opinion Granting Motions to Re-

mand, In re Clark, No. 1:22-mc-96 (D.D.C. Jun. 8, 2023). No official citation to

the opinion exists.

      Hon. Rudolph Contreras, Order Granting Motions to Remand, In re Clark,

No. 22-mc-96 (D.D.C. June 8, 2023). No official citation to the order exists.

 C.   Related cases

      The rulings on review have not previously been before this Court or any

other court. No related cases are currently pending in this Court or in any other

court of which counsel is aware.




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